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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


LOOMIS SAYLES TRUST COMPANY, LLC,
Individually and on behalf of all others similarly
situated,

                             Plaintiff,

v.                                                   Civil Case No. 22-cv-6706-LGS

CITIGROUP GLOBAL MARKETS INC.,


                             Defendant.


REPLY MEMORANDUM OF DEFENDANT CITIGROUP GLOBAL MARKETS INC.
  IN FURTHER SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF LOOMIS
       SAYLES TRUST COMPANY, LLC’S CLASS ACTION COMPLAINT
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                                PRELIMINARY STATEMENT

       This case must be dismissed if the Court determines that Loomis instructed CGMI to

place market-on-close (“MOC”) orders for CL and SHOP. The March 18 Communications that

CGMI placed before the Court comprise Loomis’s trading instructions and are the sole

foundation of any relationship between the parties. Those communications, when viewed in full,

compel the conclusion that Loomis instructed CGMI to place MOC orders just before the

deadline for the NYSE closing auction. That is fatal.

       LSTC obscured this interpretation by presenting a grossly incomplete and misleading

picture of the parties’ communications in the Complaint—including only snippets from Loomis’s

initial outreach, while omitting the extensive back and forth that followed. In its Opposition,

LSTC struggles to explain the Complaint’s material omissions, attempting to recast the missing

communications as somehow consistent with its theory that Loomis granted CGMI unfettered

discretion to trade. In fact, LSTC’s hindsight interpretation of its own instructions is

unreasonable, and the Court should reject it as such and dismiss the case.

       The Complaint should also be dismissed under SLUSA. The Complaint plainly alleges

that CGMI made various misrepresentations and omissions regarding the analyses it would

perform to assist Loomis in deciding upon its trading strategy and the instructions it would

provide to CGMI. Those allegations sound in fraud—regardless of how insufficient they might

be to state a claim for fraud or how unnecessary LSTC argues they are to the contract and

fiduciary duty claims it has asserted. SLUSA preclusion is appropriate.
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                                                 ARGUMENT

I.       INTERPRETATION OF THE MARCH 18 COMMUNICATIONS THAT ARE
         THE FOUNDATION OF THE PARTIES’ ALLEGED CONTRACTUAL AND
         FIDUCIARY RELATIONSHIP IS A QUESTION OF LAW THAT THE COURT
         CAN DECIDE ON A MOTION TO DISMISS.

         “Issues of contract interpretation are generally matters of law and therefore [are] suitable

for disposition on a motion to dismiss.” Citadel Equity Fund Ltd. v. Aquila, Inc., 371 F.

Supp. 2d 510, 516 (S.D.N.Y. 2005) (citation omitted). On a motion to dismiss, the court’s

independent analysis regarding the meaning of the contract “govern[s] over Plaintiffs’ inaccurate

description”. Kraft v. Third Coast Mistream, No. 19 Civ. 9398 (LJL), 2021 WL 860987,

at *2 n.2 (S.D.N.Y. Mar. 8, 2021) (emphasis added). In the words of the Second Circuit: “[t]he

language of a contract is not made ambiguous simply because the parties urge different

interpretations.” Seiden Assocs., Inc. v. ANC Holdings, Inc., 959 F.2d 425, 428 (2d Cir. 1992).

         LSTC does not dispute that the March 18 Communications comprise the agreement and

established the relationship that LSTC alleges CGMI breached—nor could it, considering that

neither the Complaint nor the Opposition points to anything else that allegedly gave rise to any

such relationship. LSTC also does not dispute the accuracy, completeness or authenticity of the

chats and phone transcripts that CGMI submitted to the Court, nor does it disagree that the Court

may consider those materials at this stage.1 LSTC’s argument that there is a dispute regarding

“whether and how” the March 18 Communications relate to the parties’ relationship (Opp’n at 9)

is nonsensical—those communications are the sum and substance of “whether and how” a



     1
        In a footnote, LSTC hedges by asserting that it can “cite to the exhibits attached by Citigroup (without
conceding that the exhibits are true, correct, or complete transcripts of the chat and telephone calls)” (Opp’n
at 3 n.1), while saying nothing whatsoever to contest the completeness or accuracy of those materials (see id. at 9).
Regardless, LSTC’s wavering does not change the basic principle that “[i]nsofar as the complaint relies on the terms
of [an agreement], [the Court] need not accept its description of those terms, but may look to the agreement itself.”
Broder v. Cablevision Sys. Corp., 418 F.3d 187, 196 (2d Cir. 2005).



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relationship even exists. The Complaint emphasizes as much in alleging that CGMI “accepted

the offer” and “agreed to” “execute the Affected Order” consistent with the “accompanying

instructions” found in the March 18 Communications. (Compl. ¶¶ 29, 71-72, 77.)

         LSTC also seems to argue that the March 18 Communications present a dispute of fact

that the Court should avoid, rather than a contract that the Court should interpret on a motion to

dismiss, because they are informal in nature and include “trader jargon”. (Opp’n at 9.) But

whether an agreement is embodied in a formalized, written and signed document or, as here, in

Bloomberg chats and phone calls, does not alter the basic rule that discerning meaning is a legal

question for the Court to determine at this stage. See Aquila, 371 F. Supp. 2d at 516. Nor does

the minimal presence of “trader jargon” prevent the Court from interpreting the agreement on a

motion to dismiss. In fact, each of the cases LSTC cites on that point observed that parsing

jargon at the pleadings stage was unnecessary. See, e.g., Loreley Fin. (Jersey) No. 3 Ltd. v. Wells

Fargo Sec., LLC, 797 F.3d 160, 175 (2d Cir. 2015) (noting the court need not “definitive[ly]”

construe jargon, but simply apply the Rule 9(b) pleading requirements).2 Indeed, LSTC

identifies no “jargon” that in any way prevents the Court from being able to interpret the intent

of the parties. Quite the contrary, as discussed in more detail below (infra § II), LSTC’s

“factual” quibbles regarding the March 18 Communications focus on far more mundane details,

such as the presence of a question mark and the usage of the word “fine”. The Court does not

need specialized industry expertise or fact discovery to decipher punctuation or simple language.




     2
        LSTC’s citation to the complaint—rather than an actual court decision—from Ramchandani v. CitiGroup,
Inc., No. 19 Civ. 9124 (VM), 2019 WL 4862251 (S.D.N.Y. Oct. 2, 2019) (see Opp’n at 9 n.4) is telling. The
allegations contained in a complaint of an entirely different proceeding are irrelevant to understanding this Court’s
role in deciding this motion.



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II.    THE COMPLAINT FAILS PLAUSIBLY TO ALLEGE THAT CGMI BREACHED
       ANY CONTRACTUAL OR FIDUCIARY DUTY.

       A.      The March 18 Communications make clear that Loomis instructed CGMI to
               place the MOC orders for CL and SHOP.

       It is beyond dispute that LSTC’s Complaint presented an incomplete and selective view

of the March 18 Communications that focused entirely on limited excerpts of the parties’ chats at

2:30-2:31 p.m. and was silent regarding the extensive back and forth that occurred until the

NYSE auction deadline at 3:50 p.m. CGMI put the entirety of the March 18 Communications

before the Court and believes that, viewed in full and holistically, they unambiguously show that

Loomis’s instructions to CGMI were the product of a logical process, wherein: Loomis first

identified the stocks and quantities it wanted to trade and its general objectives; CGMI provided

market color regarding liquidity and imbalances that Loomis took into consideration along with

its own analysis; CGMI and Loomis discussed various options at various times for how the

trades might be completed; and ultimately Loomis decided to instruct CGMI, as agent, to enter

MOC orders for all of the stocks with the exception of SAM. (Br. at 5-8, 12-15.) The Court can

and should reach the same conclusion. Considering that LSTC drafted the Complaint so as to

withhold from the Court a complete picture of the parties’ communications, LSTC’s accusation

that “[CGMI] relies on . . . a selective and misleading recitation of the communications” (Opp’n

at 9), rings hollow.

       Having omitted from the Complaint all but a few self-serving and out-of-context

snippets, LSTC now scrambles for various post hoc explanations for why the omitted

communications actually support its view that Loomis’s instructions were set in stone at 2:31

p.m., and all the rest had nothing to do with the parties’ agreement. (See Opp’n at 3-7, 10-12.)

But LSTC’s arguments are inconsistent with the plain language and full context of the March 18

Communications and do not give rise to any ambiguity. See Capstone Asset Mgmt. Co. v.


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Dearborn Capital Grp., 21cv997 (DLC), 2021 WL 4250087, at *5 (S.D.N.Y. Sept. 17, 2021)

(“To determine whether disputed contract language is ambiguous, a court must ask whether it is

‘ambiguous when read in the context of the entire agreement.’” (quoting Law Debenture Trust

Co. of N.Y. v. Maverick Tube Corp., 595 F.3d 458, 467 (2d Cir. 2010)). Accordingly, the Court

should reject LSTC’s interpretation and dismiss the case.

       First, LSTC points to an exchange at the end of the 2:32 p.m. call to argue that “the

decision to ‘work [the orders] early’ was in Chiomastro’s discretion”. (Opp’n at 10 (alteration in

original) (citing Dkt. 37-2 at 3:21-4:7).) That ignores Loomis’s Director of Trading Nicholas

Gagnon’s subsequent communication at 3:48 p.m. instructing that Loomis was “looking to

complete all except maybe SAM”. (Dkt. 37-1 at 3:48:50 (emphasis added).) When placed in

context with the 3:48 p.m. chat, LSTC’s interpretation of the 2:32 p.m. call makes no sense. The

3:48 p.m. chat reflects the iterative nature of Loomis’s instructions to CGMI, which culminated

in Mr. Gagnon’s final and express directive, just before the auction cutoff, to place MOC orders

for all stocks other than SAM.

       Second, with respect to the 3:48 p.m. chat, LSTC also contends Mr. Gagnon’s use of a

question mark shows he “was asking Chiomastro what he intended to do, not instructing him”, as

if Mr. Gagnon were powerless to tell Mr. Chiomastro what he wanted as they both discussed

potential trading strategies. (Opp’n at 11.) Not so. The only plausible reading is that after

extensive back and forth strategizing about the desired trades, Loomis, the client, through its

Director of Trading, was confirming its instruction to CGMI, its broker, to place all the orders

MOC except SAM.

       Third, regarding the same chat, LSTC also argues that “complete all” could have meant

that some portion of the order would not be MOC. (See Opp’n at 11 n.5.) That makes no sense,




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given that the message was sent approximately one minute before the closing auction cutoff

time. Accordingly, it could not conceivably have been an instruction to trade prior to the closing

auction. Nor could it reflect that CGMI had discretion to place limits on the orders, because that

would have risked not “complet[ing] all”. Simply put, the only plausible reading is that right

before the auction cutoff Loomis was confirming its final instruction that CGMI should place all

orders MOC, except SAM.

       Fourth, LSTC’s interpretation of the 3:31 p.m. call is also illogical. It is evident from the

outset of the discussion that the purpose of that call was for Mr. Gagnon to discuss with

Mr. Chiomastro potential limits CGMI would be authorized to use on certain orders. (See Dkt.

37-3 at 1:3-5.) LSTC’s alternate explanation, that Mr. Gagnon’s question, “CL what percent do

you think you’ll be done, um, excluding whatever we have to do, limit on close?” indicates that a

portion of the CL order was instructed to be placed LOC (Opp’n at 11), entirely ignores

Mr. Gagnon’s statement seconds later that he did not think they would need to use a limit with

CL: “I do see some buyers showing up in CL . . . So I’m thinking it’s gonna be fine”. (Dkt.

37-3 at 2:12-15.) And the suggestion that it is unclear what the word “fine” modifies (Opp’n at 6

n.3), is frivolous. The complete exchange makes clear that Mr. Gagnon means he thought it

would be “fine” not to use a limit—i.e., to place CL as MOC. That is, of course, also consistent

with Mr. Gagnon’s subsequent chat confirming that an LOC order was necessary only for SAM.

(See Dkt. 37-3 at 2:12-15, 2:21-3:5; see also Dkt. 37-1 at 3:48:50.)

       Finally, LSTC argues that Mr. Gagnon’s statement on the 3:31 p.m. call, “That sounds

perfect” was in response only to Mr. Chiomastro’s saying that he might call Mr. Gagnon again in

ten minutes. Again, read in its full context, Mr. Gagnon is plainly responding to Mr.

Chiomastro’s summary of expected liquidity (“the liquidity should be there”) and likelihood that




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the entirety of the remaining CL order would be MOC (“I do think that CL we just end up being

down there all MOC”), indicating that Mr. Gagnon was ultimately in charge. (Dkt. 37-3

at 2:21, 3:3.)

        B.       CGMI’s only duty was to execute the trades as instructed, which it did.

        Because CGMI lacked discretion over the Affected Orders, it owed no duty to LSTC

beyond executing as instructed. LSTC argues for a separate, more expansive duty of “best

execution”, relying primarily on United States v. Wolfson, 642 F.3d 293, 295 (2d Cir. 2011), for

the proposition that “particular factual circumstances may serve to create a fiduciary duty

between a broker and his customer even in the absence of a discretionary account.” (Opp’n

at 13 (emphasis in original).) LSTC fails to articulate—either in the Complaint or the

Opposition—what “particular factual circumstances” are present in this case sufficient to give

rise to more expansive fiduciary duties. Wolfson—a criminal appeal based on disclosure duties

and the adequacy of jury instructions—does not dictate that such a rule should apply in this case,

as the Second Circuit there affirmed the longstanding rule that “there is no general fiduciary duty

inherent in an ordinary broker/customer relationship”, and upheld jury instructions that described

“reliance and de facto control and dominance” as the “heart” of the fiduciary relationship. 642

F.3d at 295 (quoting United States v. Szur, 289 F.3d 200, 211 (2d Cir. 2002)). Nowhere does the

Complaint allege that CGMI exercised anything remotely resembling “de facto control and

dominance” over Loomis, its multi-billion dollar investment manager client.

        Further, to the extent the Opposition points to conclusory allegations in the Complaint to

establish that CGMI owed LSTC a duty of best execution beyond following instructions, that

should be rejected. (See Opp’n at 13 (“Loomis entrusted Citigroup with the discretion to execute

the orders in a manner that would not materially impact the price. Compl. ¶¶ 1, 35-37.

Citigroup thus owed a fiduciary duty, including the duty of best execution, in connection with


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the Affected Orders. Id. ¶¶ 77-78.”).) The existence of a fiduciary relationship and its scope is a

legal question, and the Complaint’s bald assertion that there was such a duty is entitled to no

deference on a motion to dismiss. See Corr. Officers’ Benevolent Ass’n Inc. v. City of N.Y., 415

F. Supp. 3d 464, 468 (S.D.N.Y. 2019) (noting that “legal conclusions couched as factual

allegations [do not] merit . . . deference” on a motion to dismiss (cleaned up)). And the

Complaint’s actual allegations of fact support nothing beyond the basic existence of a

client-broker relationship, not some heightened duty.

       C.      LSTC’s other arguments are contradicted by the March 18 Communications
               and applicable NYSE Rules.

       With respect to liquidity and imbalance data, LSTC argues that “Citigroup was required

to appropriately and reasonably analyze liquidity . . . [and] failed to adequately monitor and react

to imbalance data”. (Opp’n at 15.) Just like the Complaint’s allegation that CGMI’s analyses

were not “reasonable” (Compl. ¶ 56), LSTC points to no facts and fails to explain what it

contends CGMI should have done but failed to do. (See Br. at 14-15.) Nor does LSTC cite a

single case in which similarly conclusory allegations survived a motion to dismiss.

       With respect to the assertion that CGMI should have canceled the orders for “error” after

the 3:50 p.m. cutoff, LSTC simply parrots the conclusory Complaint allegations (Opp’n at 16

(citing Compl. ¶¶ 59-60)) and ignores the straightforward language of the applicable NYSE

Rules, which allow for cancellation of an order only in narrow circumstances not alleged and not

present here. (Dkt. 37-4 at 2 n.3.) Neither the Complaint nor the Opposition offers any basis for

the Court to conclude that the sort of error in judgment alleged by LSTC implicates an NYSE

Rule that on its face plainly applies to errors resulting from inaccurate or “fat-fingered” data

entry, such as mistakenly adding an extra zero to the number of shares. (See id.) The Court is




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capable of reading the NYSE Rule and, without specialized industry expertise, deciding whether

it applies to the facts alleged here. It does not.

        Finally, LSTC provides no substantive response to the argument that under the NYSE

Rules only a DMM may request a temporary suspension. (Br. at 16.) LSTC merely repeats the

Complaint’s conclusory assertion that CGMI should have acted “as a matter of its duty” (Opp’n

at 16 (quoting Compl. ¶ 60)), without explaining how or why such a duty supposedly existed.

III.    LSTC’S CLAIMS ARE PRECLUDED BY SLUSA.

        LSTC attempts to avoid SLUSA preclusion by running from what are unmistakably

allegations (albeit weak ones) of fraudulent misrepresentations and omissions. The Complaint

plainly contends that CGMI misrepresented the nature of the liquidity and imbalance analyses it

would perform for CL and SHOP. (See Compl. ¶¶ 48, 56.) In view of the March 18

Communications, those allegations can mean only that, throughout the trading day, CGMI

supposedly misrepresented the services it would provide and withheld critical information from

Loomis, and that if CGMI had actually performed the types of analyses it agreed to, Loomis

would not have instructed CGMI to place the relevant orders as MOC. Those allegations sound

in fraud.

        Moreover, the Complaint explicitly alleges that “Citigroup was aware that the quantities

for the Affected Orders ‘were bigger than [the] street’ and would ‘dominate the trade’”

(Compl. ¶ 52 (emphasis added)), which is precisely the sort of alleged intentional omission that

underlies fraud claims that SLUSA precludes. Recognizing the problem, LSTC argues that the

allegation “could be entirely removed” without impacting its contract and fiduciary duty claims.

(Opp’n at 23.) But whether particular allegations of fraudulent misrepresentations and omissions

are necessary to maintain the claims is beside the point; what matters is that those allegations

sound in fraud “in words or substance”, Xpedior Creditor Tr. v. Credit Suisse First Bos. (USA)


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Inc., 341 F. Supp. 2d 258, 268 (S.D.N.Y. 2004), and LSTC’s “artful[] plead[ing]” does not

prevent the application of SLUSA here. Miller v. Metro. Life Ins. Co., 17 Civ. 7284 (AT), 2019

WL 4450637, at *3-4 (S.D.N.Y. Sept. 17, 2019). CGMI certainly agrees with LSTC that the

allegations of intent are conclusory, weak and would never actually sustain a securities fraud

claim (see Opp’n at 21), but preclusion under SLUSA is still appropriate. See Gwin v.

Nationwide Life Ins. Co., No. 2:08-CV-0059-RDP, 2008 WL 8945610, at *5 n.5 (N.D. Ala.

Apr. 15, 2008) (citation omitted).

         LSTC’s cases (see Opp’n at 18-19) do not compel a different outcome. Rupnow and

Stillwater are inapposite because they did not turn on the defendants’ failure to disclose material

information. Rupnow v. E*TRADE Sec., LLC, 19-CV-10942 (VSB), 2021 WL 5854442, at *5-6

(S.D.N.Y. Dec. 9, 2021); In re Stillwater Cap. Partners Inc. Litig., 851 F. Supp. 2d 556, 572-73

(S.D.N.Y. 2012). LSTC’s reliance on Xpedior depends on its erroneous narrative that Loomis’s

trading instructions were finalized at 2:31 p.m. (which they were not, see supra § II.B). The

Complaint does not merely allege that CGMI “promised to do one thing but then did another”,

Xpedior, 341 F. Supp. 2d at 265, but rather that CGMI misrepresented what analyses it was

performing, leading Loomis to instruct CGMI to place MOC orders for the CL and SHOP trades.

                                                CONCLUSION

         LSTC’s Complaint should be dismissed in its entirety, with prejudice, or, in the

alternative, LSTC’s fiduciary duty claim should be dismissed with prejudice.3




     3
       LSTC’s fiduciary duty claim should be dismissed as duplicative of the contract claim. (Br. at 24-25.) The
cases cited in the Opposition are readily distinguishable. See, e.g., Zurich Am. Life Ins. Co. v. Nagel, 538 F. Supp.
3d 396, 403 (S.D.N.Y. 2021) (describing ways the defendant could breach the contract but not the fiduciary duty and
vice versa). Here, a breach of one is necessarily a breach of the other; as both claims are based on CGMI’s alleged
failure to execute the orders pursuant to Loomis’s instructions.



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Dated: December 16, 2022

                                     Respectfully submitted,


                                   /s/ Michael A. Paskin
                                   CRAVATH, SWAINE & MOORE LLP
                                   Michael A. Paskin
                                   Helam Gebremariam
                                   Worldwide Plaza
                                   825 Eighth Avenue
                                   New York, NY 10019
                                   Telephone: (212) 474-1000
                                   Facsimile: (212) 474-3700
                                   mpaskin@cravath.com
                                   hgebremariam@cravath.com


                                   Attorneys for Defendant Citigroup Global
                                   Markets Inc.




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